     Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 1 of 12




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


                                           MDL Docket No. 2800
In re: Equifax Inc. Customer               No. 1:17-md-2800-TWT
Data Security Breach Litigation
                                           CONSUMER ACTIONS

                                           Chief Judge Thomas W. Thrash, Jr.



     CONSUMER PLAINTIFFS’ OMNIBUS REPLY IN SUPPORT OF
                MOTION FOR APPEAL BOND

      The Court should order the appeal bonds as requested by Consumer

Plaintiffs, and reject the arguments in opposition made by Objectors/Appellants

Andrews (Doc. 1049, 1055, 1063), Huang (Doc. 1056), Frank and Watkins (Doc.

1057), West (Doc. 1058), and Cochran (Doc. 1066). These objectors continue their

ad hominem attacks, accusing class counsel and the Court of crimes—as in the

case of Andrews—and purporting to seek sanctions against class counsel for every

perceived slight, misstep, or disagreement—as in the case of Frank and West.

Much of the oppositions rehash grievances unrelated to the request for appeal

bond. The Court should reject the remaining arguments for the reasons stated

below.



                                       1
     Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 2 of 12




      First, the procedural arguments raised by the objectors are no basis for

denying a bond. Several objectors complain that the bond request should have been

filed sooner. But the motion was appropriately filed soon after the Court’s

resolution of Rule 59 motions made the previously-filed notices of appeal

effective. See Fed. R. App. P. 4(a)(4)(B)(i). And while Andrews and Huang

complain about service, they were nonetheless able to promptly file responses (in

Andrews’ case, three responses) to the bond motion.1

      Second, much of the objectors’ briefing focuses on appeal bond issues not

presented here. Plaintiffs’ memorandum, Doc. 1040-1 at 5-7, correctly states the

law applicable to a district court’s treatment of appeal bonds. But as to the bond

being sought here, Plaintiffs’ motion is specific: “despite the enormous harm the

Objectors are inflicting on the settlement class by delaying any relief by months or

even years—Plaintiffs seek only a modest bond for the costs of appeal. Taxable

costs listed in 28 U.S.C. § 1920 and Federal Rule of Appellate Procedure 39 are

customarily included in an appeal bond.” Doc. 1040-1 at 17. Plaintiffs have not

requested a bond for attorneys’ fees, as challenged by Huang. Doc. 1056 at 2-4,

citing Pedraza v. United Guar. Corp., 313 F.3d 1323 (11th Cir. 2002). Nor have


1
 Andrews’ arguments regarding his alleged entitlement to proceed in forma
pauperis should be rejected for the reasons previously stated (Doc. 998).

                                         2
      Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 3 of 12




they requested that the bond include an amount for delay or disruption of

settlement administration, or for fees, for a frivolous appeal under Federal Rule of

Appellate Procedure 38, as suggested by West and Frank. Doc. 1058 at 3-4, citing

Muransky v. Godiva Chocolatier, 2016 WL 11601010, at *3 (S.D. Fla. Dec. 19,

2016); Doc. 1057 at 15-19. Moreover, to be clear, Plaintiffs seek only a bond for

the costs of appeal that are recoverable under Rule 7.2

      The objectors’ main dispute is with the amount of the requested bond. They

assert it should be something like $1,000, and not the requested $20,000. In

connection with this argument, Frank and Watkins (joined by West) repeatedly

accuse class counsel of “misleading” the Court and acting in “bad faith.” Those

claims are false—Plaintiffs’ summary of the law is accurate and certainly not

intended to mislead the Court or anyone else.3 As seems to be standard practice for


2
  Because the costs for which Plaintiffs seek a bond are recoverable under Rule 7,
it is unnecessary for the Court to consider whether a supersedeas bond under
Federal Rule of Appellate Procedure 8 that would allow for other costs to be
included in the amount of the bond is also appropriate.
3
  Plaintiffs’ memorandum cites several cases for the accurate proposition that
“Courts frequently require objectors who have appealed from final approval orders
to post substantial bonds.” Doc. 1057 at 10. Frank criticizes Plaintiffs’ citation of
Tennille v. Western Union Co., 2013 WL 5716877 (D. Colo. Oct. 21, 2013), and In
re Uponor, 2012 WL 3984542 (D. Minn. Sept. 11, 2012). The court of appeals in
Tennille subsequently “affirm[ed] the district court’s decision to impose an appeal
bond,” but “decreas[ed] the amount of that bond” to $5,000. Tennille v. W. Union
Co., 774 F.3d 1249, 1258 (10th Cir. 2014). The order in In re Uponor does not
                                          3
      Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 4 of 12




the objectors in this case, they claim class counsel should be sanctioned.4 Plaintiffs

will not engage in the objectors’ food fight. Suffice it to say there is ample

authority for the proposition that a bond for allowable costs on appeal may be

appropriately estimated, and the requested $20,000 bond here fits comfortably in

the range of permissible appeal bonds. See, e.g., In re Ins. Brokerage Antitrust

Litig., 2007 WL 1963063, at *2-3 (D.N.J. July 2, 2007) ($25,000 bond reasonable

under Rule 7 in complex multi-party objector appeal); In re Currency Conversion

Fee Antitrust Litig., 2010 WL 1253741, at *3 (S.D.N.Y. March 5, 2010) (ordering

$50,000 Rule 7 bond where there existed a voluminous record and multiple

appellants), reconsideration denied, 2010 WL 2033811 (May 21, 2010); In re



show any negative history on Westlaw, but the court of appeals did enter an
unpublished stay of the district court’s order requiring an appeal bond in excess of
$25,000. A subsequent decision references this unpublished stay order in its
discussion of the case, but because the settlement class did not challenge the stay
order, and the objectors did not further challenge the bond, the court of appeals did
not address it further. However, the court did agree that the amount of the bond
was excessive. In re Uponor, Inc., F1807 Plumbing Fittings Prod. Liab. Litig., 716
F.3d 1057, 1062 & n.3 (8th Cir. 2013) (citing unpublished order granting in part
motion for stay of appeal bond order). That the Tennille and Uponor district court
decisions were altered on appeal—subsequent history that was unintentionally
omitted from the memorandum—does not change the point they were intended to
illustrate. A corrected proposed order is submitted herewith.
4
 Frank is already seeking sanctions against class counsel in the Eleventh Circuit,
before any substantive briefs have been filed or a briefing schedule has even been
set.
                                          4
      Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 5 of 12




Wells Fargo Loan Processor Overtime Pay Litig., 2011 WL 3352460, at *10 (N.D.

Cal. Aug. 2, 2011) (ordering $20,000 bond under Rule 7).

      The amount of bond requested is particularly appropriate given the

multiplicity of filings by Frank and the other objectors, the required paper printing

and service, and the necessity of transcripts from the hearing on the motion for

notice, the final approval hearing, and the nine other hearings in the case that may

be relevant to issues raised on appeal, several of which are fact-sensitive. The

objectors who are pursuing appeals, not Plaintiffs, should bear the risk of what

these costs will prove to be. In re Ins. Brokerage, 2007 WL 1963063, at *2 (“The

purpose of an appellate cost bond is to protect the rights of appellees.”).

Regardless, if the Court believes that their estimate of the potential recoverable

appeal costs is too high, Plaintiffs request that a bond in a lesser amount be set.

See, e.g., In re Checking Account Overdraft Litig., 2012 WL 456691, at *3 n.6

(S.D. Fla. Feb. 14, 2012) (requiring $5,000 appeal cost bond under Rule 7).5

      Finally, the objectors claim they should not have to post the entire bond

amount. As stated in the motion, each objector should independently post the full


5
  Frank and Watkins appear to concede that recoverable costs under Rule 7 will be
at least $1,000 (see Doc. 1057. at 1, 3) and thus ordering them to post a bond in
that amount would be minimally appropriate. See Tennille, 774 F. 3d at 1257
(court approved bond for $5,000, which the objector conceded would be proper to
cover printing, copying, and record preparation costs).
                                         5
     Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 6 of 12




bond amount because if one of the objectors posted a fractional portion of the bond

amount—as they now request—that objector could still proceed on every issue on

appeal, but Plaintiffs’ appeal costs would not be fully secured. See Muransky v.

Godiva Chocolatier, Inc., 2017 WL 11220677, at *2 (S.D. Fla. Jan. 9, 2017).

      The Court should grant Plaintiffs’ motion for appeal bonds and enter the

corrected proposed order submitted herewith.




Dated: April 20, 2020                 Respectfully submitted,


                                      /s/ Kenneth S. Canfield
                                      Kenneth S. Canfield
                                      Ga Bar No. 107744
                                      DOFFERMYRE SHIELDS
                                      CANFIELD & KNOWLES, LLC
                                      1355 Peachtree Street, N.E.
                                      Suite 1725
                                      Atlanta, Georgia 30309
                                      Tel. 404.881.8900
                                      kcanfield@dsckd.com

                                      /s/ Amy E. Keller
                                      Amy E. Keller
                                      DICELLO LEVITT GUTZLER LLC
                                      Ten North Dearborn Street
                                      Eleventh Floor
                                      Chicago, Illinois 60602
                                      Tel. 312.214.7900
                                      akeller@dicellolevitt.com
                                        6
Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 7 of 12




                             /s/ Norman E. Siegel
                             Norman E. Siegel
                             STUEVE SIEGEL HANSON LLP
                             460 Nichols Road, Suite 200
                             Kansas City, Missouri 64112
                             Tel. 816.714.7100
                             siegel@stuevesiegel.com

                             Consumer Plaintiffs’ Co-Lead Counsel


                             /s/ Roy E. Barnes
                             Roy E. Barnes
                             Ga. Bar No. 039000
                             BARNES LAW GROUP, LLC
                             31 Atlanta Street
                             Marietta, Georgia 30060
                             Tel. 770.227.6375
                             roy@barneslawgroup.com

                             David J. Worley
                             Ga. Bar No. 776665
                             EVANGELISTA WORLEY LLC
                             8100A Roswell Road Suite 100
                             Atlanta, Georgia 30350
                             Tel. 404.205.8400
                             david@ewlawllc.com

                             Consumer Plaintiffs’ Co-Liaison
                             Counsel




                               7
Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 8 of 12




                             Andrew N. Friedman
                             COHEN MILSTEIN SELLERS &
                             TOLL PLLC
                             1100 New York Avenue, NW
                             Suite 500
                             Washington, D.C. 20005
                             Tel. 202.408.4600
                             afriedman@cohenmilstein.com

                             Eric H. Gibbs
                             GIRARD GIBBS LLP
                             505 14th Street
                             Suite 1110
                             Oakland, California 94612
                             Tel. 510.350.9700
                             ehg@classlawgroup.com

                             James Pizzirusso
                             HAUSFELD LLP
                             1700 K Street NW Suite 650
                             Washington, D.C. 20006
                             Tel. 202.540.7200
                             jpizzirusso@hausfeld.com

                             Ariana J. Tadler
                             TADLER LAW LLP
                             One Penn Plaza
                             36th Floor
                             New York, New York 10119
                             Tel. 212.946.9453
                             atadler@tadlerlaw.com




                               8
Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 9 of 12




                             John A. Yanchunis
                             MORGAN & MORGAN COMPLEX
                             LITIGATION GROUP
                             201 N. Franklin Street, 7th Floor
                             Tampa, Florida 33602
                             Tel. 813.223.5505
                             jyanchunis@forthepeople.com

                             William H. Murphy III
                             MURPHY, FALCON & MURPHY
                             1 South Street, 23rd Floor
                             Baltimore, Maryland 21224
                             Tel. 410.539.6500
                             hassan.murphy@murphyfalcon.com

                             Jason R. Doss
                             Ga. Bar No. 227117
                             THE DOSS FIRM, LLC
                             36 Trammell Street, Suite 101
                             Marietta, Georgia 30064
                             Tel. 770.578.1314
                             jasondoss@dossfirm.com

                             Consumer Plaintiffs’ Steering
                             Committee

                             Rodney K. Strong
                             GRIFFIN & STRONG P.C.
                             235 Peachtree Street NE, Suite 400
                             Atlanta, Georgia 30303
                             Tel. 404.584.9777
                             rodney@gspclaw.com

                             Consumer Plaintiffs’ State Court
                             Coordinating Counsel




                               9
     Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 10 of 12




                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this reply memorandum has been prepared in

compliance with Local Rules 5.1 and 7.1.

                                            /s/ Norman E. Siegel




                                       10
     Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 11 of 12




                        CERTIFICATE OF SERVICE

      I hereby certify that on April 20, 2020, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. Those counsel for parties

who are registered ECF users will be served by the ECF system.

      I also certify that copies of the foregoing were served upon the following

Objector-Appellants via U.S. Mail and electronic mail on April 20, 2020:

George Willard Cochran, Jr.
1981 Crossfield Circle
Kent, Ohio 44240
lawchrist@gmail.com

Shiyang Huang
2800 SW Angler Court
Topeka, Kansas 66614
defectivesettlement@gmail.com

John William Davis
3030 N. Rocky Point Dr. W.
Suite 150
Tampa, Florida 33607
john@johnwdavis.com




                                        11
     Case 1:17-md-02800-TWT Document 1067 Filed 04/20/20 Page 12 of 12




        I also certify that copies of the foregoing were served upon the following pro

se Objector-Appellants by depositing those copies into a U.S. mailbox on April 20,

2020:

Christopher Andrews
P.O. Box 530394
Livonia, Michigan 48153


                                        /s/ Norman E. Siegel




                                          12
